         Case 2:19-cv-02070-TJH-PLA Document 51 Filed 07/13/21 Page 1 of 1 Page ID #:342


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  NAME,ADDRESS AND TELEPHONE NUMBER OF ATTORNEYS)
  Edwin Inga
  1231 West Blvd. Apt. 303
  Los Angeles Ca 90019                                                         ~g1,~UL 13 PM 3~ 29
 (213)618-2716
  iN PRO PER                                                                    ~f ~, t.,~ r~. ~i~7~'1` .    ~°sT
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                                        UNITED STATES DISTRICT CQ~~J1tT ~.___..~.~_______
                                       CENTRAL DISTRICT OF CALIFORNIA
     Innovative Sports Manangment,Inc, d/b/a                     I CASE NUMBER
     Integrated Sports Media
                                                   PLAINTiFF(S), I        2:1.9-cv-02070-TJH-PLA
                                 v.
     Edwin Inga

                                                                     PROOF OF SERVICE -ACKNOWLEDGMENT
                                                                                 OF SERVICE
                                                 DEFENDANT(S).


    I, the undersigned, certify and declare that I am over the age of 18 years, employed in the County of
Los Angeles                                                                          ,State of California, and not a
party to the above-entitled cause. On  .►uly 9th                             , 20 21        ,Iserved a true copy of
Request For Productions Of Documents and Thines
by personally delivering it to the person (s) indicated below in the manner as provided in FRCivP 5(b); by
depositing it in the United States Mail in a sealed envelope with the postage thereon fully prepaid to the following:
(list names and addresses for persons) served. Attach additional pages if necessary.)

      Place of Mailing:
      Executed on                                     , 20,                                                         California

      Please check one of these boxes if service is made by mail:

      ❑ I hereby certify that I am a member of the Bar of the United States District Court, Central District of
        California.
      ❑ I hereby certify that I am employed in the office ofa member ofthe Bar ofthis Court at whose direction the
        service was made.
      ~ I hereby certify under the penalty of perjury that~~e foregoing is true and correct.

                                                                            I~i C~fC~ ~R.~ ~2 l~S~'-a-~a ~po00~
                                                                       ofPerson Making Service


                                        ACKNOWLEDGEMENT OF SERVICE

I,                                                     received a true copy ofthe within document on



Signature                                                            Party Served



CV-40(Ol/00)                                   PROOF OF SERVICE -ACKNOWLEDGMENT OF SERVICE
